              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:09cr25-7


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                  ORDER
                            )
                            )
JORDEN MITCHELL JOHNSON. )
                          )



     THIS MATTER is before the Court on the Defendant’s pro se Motion to

Quash [Doc. 341].

     On June 4, 2009, the Defendant entered into a plea agreement with the

Government pursuant to which she agreed to reimburse the Government for

the cost of her court-appointed counsel. [Doc. 121].       The Judgment of

Conviction entered on February 9, 2010 contains a requirement that the

Defendant do so. [Doc. 258]. In this motion, the Defendant does not object

to the Court’s order that she reimburse the Government for those costs; she

does, however, object to the amount thereof. [Doc. 341]. The Court has no

authority to review, modify or amend the amount of attorney’s fees ordered to

be paid to the Defendant’s court-appointed counsel. Fed.R.Crim.P. 35 & 36.




   Case 1:09-cr-00025-MR-WCM    Document 342    Filed 05/21/12   Page 1 of 2
     IT IS, THEREFORE, ORDERED that the Defendant’s pro se Motion to

Quash [Doc. 341] is hereby DENIED.

                                     Signed: May 21, 2012




  Case 1:09-cr-00025-MR-WCM   Document 342      Filed 05/21/12   Page 2 of 2
